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                     EXHIBIT A
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                                    BITCOIN LOAN AGREEMENT

THIS BITCOIN LOAN AGREEMENT (the “Agreement”) is made this 27th day of March, 2021
(the “Effective Date”) by and between Four SquareBiz, LLC, a Wyoming limited liability
company with a registered address at 3350 Riverwood Pkwy Suite 1900, Atlanta GA 30339; Keith
O. Crews, an individual residing at                             Kennesaw GA 30152 (collectively,
the “Borrower”); Micah Eigler, and individual residing at                    Encino, CA 91316,
(the “Co-signer”); and Cody J. Schueler, an individual with a mailing address at
    , Coeur d’Alene, Idaho 83814 (the “Lender”). The Borrower, Co-Signor, and Lender may be
referred to herein individually as “Party” or collectively as “Parties.”

                                                 RECITALS

WHEREAS, the Lender has agreed to loan the Borrower five (5) Bitcoins (“BTC”) for the
Borrower to secure private equity funding through Trust Funds Capital, Ltd. and serviced through
https://bitrei.io (Attached hereto and Incorporated herein as “Exhibit A” are true and accurate
copies of loan documentation supplied by the Borrower);

WHEREAS, in exchange for the Lender transferring BTC to the Borrower, the Borrower will
repay the Lender: ten (10) BTC (including tax penalties incurred), DStem Coins, and an option to
purchase Dstem Coins;

WHEREAS, to secure the Lender’s interest in the BTC, the Borrower and the Co-signer agree to
personally guaranty the BTC and all sums due and owing to the Lender;

WHEREAS, in consideration for Co-signer agreeing to secure the loan, Borrower agrees to
compensate the Co-signer; and

WHEREAS, the Borrower and Co-signer shall be jointly and severally liable for all sums dues and
owing to the Lender;

        NOW, THEREFORE, in consideration of the foregoing and other good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, including without
limitation, the mutual consent of the Parties hereto, the Borrower, Co-signer, and Lender the
Parties, intending to be legally bound, hereby agree as follows:

    1. Terms and Conditions.
          a. Lender’s Performance. Upon dual execution of this Agreement, the Lender shall
             loan five (5) BTC to the Borrower. The Lender shall effectuate said loan by sending
             five (5) BTC directly to the Borrower’s BTC wallet.

                      i. The Borrower’s BTC Wallet address is:
                                                                                1




1
 The Borrower has indicated that the BTC Wallet address is subject to change. In the event that the wallet address
changes, the Borrower shall promptly notify the Lender of the same.

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       b. Borrower’s Performance. On or before 5:00 pm PST on Tuesday, April 6, 2021,
          the Borrower shall send the following to the Lender:
              i. Ten (10) BTC to the Lender’s BTC Wallet

                       1. The Lender’s BTC Wallet address is:

                       2.                                               ; and

              ii. To reimburse the Lender for the initial taxable event of converting Ethereum
                  to BTC, the Borrower shall send the Lender 41,443.973913024 Dstem
                  coins. It is understood and agreed that it is not yet certain which
                  cryptocurrency wallet will be able to receive the Dstem Coins. Borrower
                  expressly agrees to block and hold the Lender’s Dstem Coins until such
                  time as the Dstem Coin wallet is determined and is readily transferrable to
                  the Lender’s wallet.
             iii. The Lender shall also have the option to purchase an additional one hundred
                  thousand (100,000) Dstem Coins at a valuation of two dollars and 50/100
                  ($2.50) per coin. Lender shall hold this exclusive right until such time as
                  the Dstem Coin IEO. The Borrower shall provide the Lender with fourteen
                  (14) days written notice of the Dstem Coin IEO.

       c. Co-signer. The Co-signer acknowledges, has read, and understands the Agreement
          and agrees to accept full responsibility for the fulfillment of all the Terms and
          Conditions of the Agreement, including Section 1(b) and any other amounts due
          under this Agreement.

              i. The Co-signer shall remain responsible for the term of the Agreement.

              ii. In exchange for the Co-signer’s agreement to sign on to this Agreement,
                  Borrower shall send twenty-five thousand (25,000) Dstem Coins to the Co-
                  signer. It is understood and agreed that it is not yet certain which
                  cryptocurrency wallet will be able to receive the Dstem Coins. Borrower
                  expressly agrees to block and hold the Co-signer’s Dstem Coins until such
                  time as the Dstem Coin wallet is determined and is readily transferrable to
                  the Co-signer’s wallet.

       d. Guarantee.

              i. Concurrently with its execution and delivery of this Agreement, Borrower
                 and Co-signer shall deliver to Lender a guarantee from Guarantor in
                 substantially the form of Schedule 1 attached hereto and made a part hereof.
                 The Borrower and Co-signer shall personally guarantee all monetary terms
                 of this Agreement, including any and all penalties that may accrue. The
                 Guaranty is attached hereto as Schedule 1.

2. Breach.
      a. In the event the Borrower fails to perform under the terms of Section 1(b), the
          Borrower shall be automatically deemed in default.

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       b. Each day the Borrower remains in default, a twenty percent (20%) interest penalty
          shall accrue. Said penalty shall be payable in BTC or as otherwise stipulated to by
          the Lender.

3. Representations and Warranties. The Borrower warrants and represents to the Lender on
   the date hereof that this Agreement has been duly and validly authorized, executed and
   delivered on behalf of the Borrower and constitutes the legal, valid and binding obligations
   of the Borrower enforceable against the Borrower in accordance with its terms. The
   Borrower further warrants and represents that all funds are lien-free and of non-criminal
   and non-terrorist origin.

4. Remedies. Upon the occurrence and during the continuation of any Event of Default, the
   Lender may, at its option, (a) declare any outstanding sums hereunder immediately due and
   payable and/or (b) exercise all other rights and remedies available to the Lender herein,
   under applicable law against both the Borrower and the Co-signer jointly and severally.
   The Lender shall have the right to rescind any acceleration in payment of the principal
   amounts due hereunder for default, as aforesaid, if the Lender so elects, in which event this
   Agreement shall be construed, interpreted and enforced in the same manner as if the Lender
   had never elected to declare the unpaid principal balance hereof at once due and payable.

5. Rights and Remedies Cumulative. No delay or omission by the Lender in exercising any
   right or remedy herein shall operate as a waiver of the future exercise of that right or
   remedy or of any other rights or remedies herein. All rights of the Lender stated herein are
   cumulative and in addition to all other rights provided by law.

6. Governing Law. This Agreement is governed by the laws of the State of Idaho, and any
   questions arising hereunder shall be construed or determined in accordance with such law.
   The venue for any lawsuit filed by either party related to the terms of this agreement shall
   be located exclusively in the federal courts of the state of Idaho, U.S.A.

7. Notices. Unless otherwise provided in this Agreement, all notices or demands relating to
   this Agreement shall be in writing and shall be personally delivered or sent by registered
   or certified mail (postage prepaid, return receipt requested), overnight courier, electronic
   mail (at such email addresses as a party may designate in accordance herewith), or
   telefacsimile, to the respective address set forth below:

   Borrower:
   Four SquareBiz, LLC
   Name: Keith O. Crews, Chairman
   Address: 3350 Riverwood Pkwy Suite 1900, Atlanta GA 30339
   Phone : 423-284-7854
   E-mail : okcrews@4squarebiz.com

   Borrower
   Name: Keith O. Crews, Individually
   Address:                         Kennesaw GA 30152
   Phone : 423-284-7854
   E-mail : okcrews@yahoo.com

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   Lender:
   Name: Cody J. Schueler
   Address:                 Coeur d’Alene, Idaho 83814, U.S.A.
   Phone: +1-406-370-6178
   E-mail: Cody@puremanagementsolutions.com

   Co-signer:
   Name: Micah Eigler
   Address:                  Encino, Ca 91316
   Phone: 1-818-939-2057
   E-mail: Eigler1@gmail.com

   Any party may change its address by giving any other party written notice of its new
   address as herein provided.

8. Attorney Fees and Costs. If either Party commences legal proceedings to interpret or
   enforce the terms of this Agreement, the prevailing Party will be entitled to recover court
   costs and reasonable attorney fees.

9. Modifications. All modifications or amendments to this Agreement shall be effective only
   when reduced to writing and signed by both parties hereto.

10. Entire Agreement. This Agreement constitutes the entire Agreement among the parties
    with respect to the subject matter hereof and supersedes any prior negotiations,
    understandings and agreements.

11. Successors and Assigns. This Agreement shall bind and inure to the benefit of the
    respective successors and assigns of each of the parties; provided, that neither party may
    assign this Agreement or any rights or duties hereunder without the prior written consent
    of the other party (such consent to not be unreasonably withheld). Notwithstanding the
    foregoing, in the event of a change of control of Lender or Borrower, prior written consent
    shall not be required so such party provides the other party with written notice prior to the
    consummation of such change of control. For purposes of the foregoing, a “change of
    control” shall mean a transaction or series of related transactions in which a person or
    entity, or a group of affiliated (or otherwise related) persons or entities acquires from
    stockholders of the party shares representing more than fifty percent (50%) of the
    outstanding voting stock of the such party.

12. Severability of Provisions. Each provision of this Agreement shall be severable from every
    other provision of this Agreement for the purpose of determining the legal enforceability
    of any specific provision.

13. Counterpart Execution. This Agreement may be executed in any number of counterparts
    and by different parties on separate counterparts, each of which, when executed and
    delivered, shall be deemed to be an original, and all of which, when taken together, shall
    constitute but one and the same Agreement. Delivery of an executed counterpart of this
    Agreement by telefacsimile, email or other electronic method of transmission shall be

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   equally as effective as delivery of an original executed counterpart of this Agreement. Any
   party delivering an executed counterpart of this Agreement by telefacsimile, email or other
   electronic method of transmission also shall deliver an original executed counterpart of this
   Agreement but the failure to deliver an original executed counterpart shall not affect the
   validity, enforceability, and binding effect of this Agreement.

14. Miscellaneous. Whenever used herein, the singular number shall include the plural, the
    plural the singular, and the use of the masculine, feminine, or neuter gender shall include
    all genders.


     (The remainder of this page is intentionally blank. Signature page(s) to follow.)




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IN WITNESS WHEREOF, each of the Parties hereto have executed this Agreement as of the date
and year first written above.
 LENDER                                       BORROWER:

 Cody J. Schueler                             Four Squarebiz, LLC




 By: _____________________________            By: _______________________________
    Cody J. Schueler, Individually                Keith O. Crews
                                                  Its: Chairman


                                              BORROWER:

                                              Keith O. Crews




                                              By: _______________________________
                                                  Keith O. Crews, Individually


                                              CO-SIGNER:

                                              Micah Eigler




                                              By: _______________________________
                                                  Micah Eigler, Individually




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                                          SCHEDULE 1
                                          GUARANTEE
KEITH O. CREWS, a (Married) individual ("Borrower"), whose address is
    Kennesaw GA 30152; and MICAH EIGLER, a married individual, whose address is
             Encino, CA 91316 (“Co-signer”) (collectively “Guarantor”) as material inducement
to and in consideration of CODY J. SCHUELER, an individual whose mailing address is
            , Coeur d’Alene, Idaho 83814, U.S.A. (“Lender”) entering into a BITCOIN LOAN
AGREEMENT ("Agreement"), dated as of March 27, 2021, pursuant to which Lender lent five
(5) Bitcoins to the Borrower, unconditionally and absolutely guarantees and promises, to and for
the benefit of Lender, its successors and assigns, that Guarantor shall perform the provisions of
the Agreement including, but not limited to, payment of all sums, charges, costs and expenses
payable by Borrower and Co-Signer, its successors and assigns, under the Agreement and the full
performance and observance of all of the covenants, terms, conditions and agreements therein
provided to be performed and observed by Borrower and Co-signer, as well as any successors and
assigns.
If Guarantor is more than one person, Guarantors' obligations are joint and several and are
independent of Party's obligations under the Agreement and shall not be discharged except by
payment to and receipt by Lender of all sums due under the Agreement. A separate action may be
brought or prosecuted against any Guarantor whether the action is brought or prosecuted against
any other Guarantor or Borrower, or all, or whether any other Guarantor or Borrower, or all, are
joined in the action.
Guarantor waives the benefit of any statute of limitations affecting Guarantor's liability under this
Guarantee.
The provisions of the Agreement may be changed by agreement between Lender and Borrower,
or their respective successors or assigns, at any time, or by course of conduct, without the consent
of or without notice to Guarantor, including, without limitation, the obligations of Borrower, the
term of the Agreement or the time for performance of any obligation thereunder, or the re-
Agreement, compromise or settlement of any Agreement obligations. This Guarantee shall
guarantee the performance of the Agreement as changed. Assignment of the Agreement (as
permitted by the Agreement) shall not affect this Guarantee.
This Guarantee shall not be affected by Lender's failure or delay in enforcing any of its rights.
If Borrower defaults under the Agreement, Lender may proceed immediately against Guarantor or
Borrower, or both, without prior notice to Guarantor, or Lender may enforce against Guarantor or
Borrower, or both, any rights that it has under the Agreement or pursuant to applicable laws. If the
Agreement terminates and Lender has any rights it may enforce against Borrower after
termination, Lender may enforce those rights against Guarantor without giving previous notice to
Borrower or Guarantor, or without making any demand on either of them. This Guarantee is a
guarantee of payment and not of collection.
Guarantor waives the right to require Lender to (1) proceed against Borrower; (2) proceed against
or exhaust any security that Lender holds from Borrower; or (3) pursue any other remedy in
Lender's power. Guarantor waives any defense by reason of any disability of Borrower, including
but not limited to any limitation on the liability or obligation of Borrower under the Agreement or

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its estate in bankruptcy or of any remedy for the enforcement thereof, resulting from the operation
of any present or future provision of the National Bankruptcy Act or other statute, or from the
decision of any court, and waives any other defense based on the termination of Borrower's liability
from any cause whatsoever. Until all of Borrower's obligations to Lender have been discharged in
full, Guarantor has no right of subrogation against Borrower. Guarantor waives their right to
enforce any remedies that Lender now has, or later may have against Borrower. Guarantor waives
any right to participate in any security now or later held by Lender. Guarantor waives all
presentments, demands for performance, notices of nonperformance, protests, notices of protest,
notices of dishonor and notices of acceptance of this Guarantee, and waives all notices of the
existence, creation or incurring of new or additional obligations.
This Guarantee shall continue to be effective, or be reinstated, as the case may be, if at any time
any whole or partial payment or performance of any obligation under the Agreement is or is sought
to be rescinded or must otherwise be restored or returned by Lender upon the insolvency or
bankruptcy of Borrower, or upon or as a result of the appointment of a receiver, intervenor or
conservator of, or trustee or similar officer for Borrower or any substantial part of Borrower's
property, or otherwise, all as though such payments and performance had not been made.
If Lender disposes of its interest in the Agreement, "Lender", as used in this Guarantee, shall mean
Lender's successors.
If Lender is required to enforce Guarantor's obligations by legal proceedings, Guarantor shall pay
to Lender all costs incurred, including, without limitation, reasonable attorneys' fees. Guarantor
hereby waives trial by jury in any such legal proceedings.
If any term or provision of this Guarantee, or the application thereof to any person or circumstance,
shall, to any extent, be invalid or unenforceable, the remainder of this Guarantee, or the application
of such term or provision to persons or circumstances other than those as to which it is held invalid
or unenforceable, shall not be affected thereby, and each term and provision of this Guarantee shall
be valid and be enforced to the fullest extent permitted by law.
No waiver by Lender of any provision or right hereunder shall be implied from any omission by
Lender to take any action on account of Lender's right under such provision. Any express waiver
by Lender of any provision or right hereunder shall not act as a waiver of any provision or right
elsewhere contained herein, and shall only act as a waiver as specifically expressed in said waiver,
and only for the time and to the extent therein stated. One or more waivers by Lender shall not be
construed as a waiver of a subsequent breach of the same provision or right.
The rights and remedies given to Lender by this Guarantee shall be deemed to be cumulative and
not one of such rights and remedies shall be exclusive at law or in equity of the rights and remedies
which Lender might otherwise have by virtue of a default under this Guarantee, and the exercise
of one such right or remedy by Lender shall not impair Lender's standing to exercise any other
rights or remedies.
All the terms, provisions and agreements of this Guarantee shall be construed liberally in favor of
Lender, shall inure to the benefit of and be enforceable by Lender, its successors and assigns, and
shall be binding upon Guarantor, and his executors, representatives, administrators and assigns. In
the event of the death of the Guarantor, the obligation of the deceased Guarantor under this
Guarantee shall continue in full force and effect with respect to estate of such deceased Guarantor.

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This Guarantee shall be governed by and construed in accordance with the laws of the State of
Idaho.


                                                GUARANTOR:

                                                Keith O. Crews




                                                By: _______________________________
                                                    Keith O. Crews, Individually


                                                GUARANTOR:

                                                Micah Eigler




                                                By: _______________________________
                                                    Micah Eigler, Individually




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                           EXHIBIT A


                          (Attachments)




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                                                                                Status: APPROVED
Tel: +1 (689) 888-0111

Em: info@trustfundcapital.org

Trust Funds Capital.

2801 SW College Road.
Ocala, FL 34474.

Standard Settlement / Repayment Terms & Conditions.




                                                                          L
Dear Stewart Lowinger,




                                               A
Kindly find below your repayment terms and conditions.




                                            TI
Amount:                         USD 255,000,000.00
Interest Rate:                  4.00%
Payment Term:                   10 Years
Annual Repayment:               USD 26,520,000.00
Number of Payments:             10
                                         EN
Cumulative Payments:            USD 265,200,000.00
Total Interest Paid:            USD 10,200,000.00
                             ID
Mode of Settlement.

• Digital Private Equity Funding.

You are required to set up a digital account with our preferred payment service provider and
               NF


provide your wallet reference for funding. ( Note: Funding might take 1-3 Business Days to reflect. )

Bitrei- https://bitrei.io/

Mode of Repayment.
CO




• Digital Private Equity Funding.

Repayments can be made through our payment service provider “Bitrei.io’’ to our wallet
reference which would be provided at the time of repayment.

• Wire Transfer.

Repayments can be made through a wire transfer to our bank account which would be
provided at the time of repayment.

• ACH ( Automated Clearing House )

Repayments can be made through a direct deposit to our bank account which would be
provided at the time of repayment.
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Repayment Conditions.

• Voluntary Early Repayment.

The receiving party is entitled to make repayments including accumulated interest in one lump
sum at anytime, including before the end of the Payment Term. An early repayment reward of
0.25% will be deducted from the final payment.

Note: This is to encourage the receiving party to pay up on time.


• Late Payment Penalty.

A daily late payment penalty shall be imposed on any amount not repaid at the end of the




                                                                     L
Payment Term at the rate of 2.5% of the unpaid balance per day. If the receiving party fails to
repay at the end of the grace period, we will exercise our rights as the pledgee.




                                            A
We may not exercise our rights under the section ( Late Payment Penalty ) above if the
receiving party is in good faith cooperating diligently to resolve the payment.




                                         TI
Your signature below indicates that you have read, understood, and agreed with the Terms &
Conditions found on this PDF document.
                                      EN
RECEIVING PARTY ( BUSINESS NAME ) : MDBN INC.


Signature of Representative:                                Bvn:    9824245
                                                                    _____________
                           ID

Type or Printed Name: Stewart Lowinger                            02/10/2021
                                                            Date: _____________
             NF


ISSUING PARTY ( BUSINESS NAME ) : TRUST FUNDS CAPITAL LTD.
CO



Signature of Issuing Oﬃcer:


Type or Printed Name: Luis Osorio                           Date:    02/10/2021

Please call me if you have any questions or need additional information. My number is
+1 (352) 888-6668.


Best Regards,

Luis Osorio
Chief Financial Oﬃcer
Trust Funds Capital
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                          FOUR SQUAREBIZ LLC
                     CO-VENTURE EQUITY AGREEMENT

This Operating Agreement (“Operating Agreement”) is made and entered into as of
February 16, 2021, (“Effective Date”), and adopted, executed, and agreed to, for good
and valuable consideration, by all the Members of FOUR SQUAREBIZ LLC (hereinafter
referred to as “Company”) and the Loan Co-venture partner organization MDBN INC.

1.01. Formation. The Company has been organized as a member managed, A
      Wyoming limited liability company by the filing of Articles of Organization and
      initial report (the “Articles”) under and pursuant to the State of Wyoming’s Limited
      Liability Company Law, as found in Revised Statutes (as amended from time to
      time, the “Act”).

 Name. The name of the Company is “FOUR SQUAREBIZ, LLC” and all Company
business must be conducted in that name or such other names that may be selected by
a Majority Interest (as defined in Section 5.02) and that comply with applicable law.
Purposes. The purpose of the Company is to acquire collateral loan, equity securities
or debt instruments of growth companies or other business entities, including but not
limited to early stage privately held companies, and to engage in any other business or
activity that now or hereafter may be necessary, incidental, proper, advisable, or
convenient to accomplish the foregoing purposes (including obtaining financing therefor)
and that is not forbidden by law.
Term. The Company commenced on the date the Articles of Organization were filed
with the Secretary of State of Wyoming and shall continue in existence for the period
fixed in this Operating Agreement may specify.
Co-Venture Partnership. The FSB intend that the MDBN is not a partnership (including
a limited partnership) or joint venture, for any purposes other than applicable statues
detailed in this Co-Venture Agreement may not be construed to suggest otherwise. FSB
as a funding recipient is obligated to pay commissions and DSTEM Coin Equity to
MDBN for arranging and processing an approval from the lending institution hereafter
referred to as funding/lending source.
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1. The parties commit themselves to (i) keep agreement confidential, to not disclose
   any of the details relating to its terms and conditions except to those persons or
   companies directly involved with the performance and/or closing of the
   transactions contemplated herein; and (ii) not make copies of this Agreement or
   any modifications or reproductions whatsoever. Should any such reproductions be
   made they shall have no legal standing or effect.

2. It is understood that “FSB” is the principal receiver of the Loan Agreement via a
   corporate resolution and officer of the corporation of the financial partner owning
   the funds and has access, either directly or indirectly, to various financial
   institutions, funding mechanisms and financial partners.

3.    through this agreement confirmed by the applicant signature, has requested that
     “MDBN.” Is to assist Four SquareBiz LLC in participating in and/or conducting one
     or more business transactions either directly or indirectly in the position of deal
     facilitator.

4.    that may result in the securing of the collateral for APPLICANT as further identified
     herein. APPLICANT recognizes that any benefit obtained by or through “within the
     scope of the agreed upon is for the sole benefit of APPLICANT and its various
     private business interests.

     Deal Summary

     FSB has authorized MDBN to submit a loan application for Two Hundred Fifty-Five
     Million USD ($255,000,000). The wallet info is as follows:

     FSB Wallet Address:




     MDBN Wallet info:

     Wallet Address:

     Wallet Reference Number:

     6f36048b-6be5
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Upon approval MDBN is to receive:

A. Five Million USD for its own projects and deal plays solely for its own purposes
   without any participation from FSB unless authorized by MDBN.
   A five percent commission will be leverage on the remaining Two Hundred Fifty
   Million USD ($250,000,000) equaling no more than Twelve Million Five
   Hundred Thousand USD ($12,500,000). This satisfies all cash commitments
   due to a successful closing event of the loan on February 17 th, 2021. MDBN
   will be responsible for taxes and all applicable fees associated with the Five
   Million USD ($5,000,000) for project funding as well as the five percent
   commission of Twelve Million Five Hundred Thousand USD ($12,500,000),
   totaling Seventeen Million Five Hundred Thousand USD ($17,500,000).

B. MDBN will transfer the balance of Two Hundred Thirty-Seven Million Five
   Hundred Thousand USD ($237,500,000) into a FSB wallet controlled corporate
   account that is unrestricted and completely accessible for financial transaction
   enablement including the monetizing and transferring of the above state
   transaction into other FSB controlled corporate accounts.

   Termination of Co-Venture Agreement will result within seventy-two hours after
   this agreement has be accepted by all transaction parties included but not
   limited to principals and depletion of lendable funds prior to the movement of
   those funds into the FSB Corporate accounts within the previous seventy-two
   hours.

   Disclaimer all parties named and identified in this co-venture agreement will
   commit to the best interest of all parties involved in this agreement to bring forth
   a successful conclusion of this legal and binding document and will adhere to
   the customs and provisioning of legal authorities in the state of Wyoming where
   FSB has been formed and given license to operate as a viable and legal
   business operations.
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                                Signatories



For and on behalf of Four (4) Square Biz LLC

Name: Keith O. Crews

Signature:
Title: Chairman
Company: 4 SquareBiz LLC
Passport Number:
Date of Issue: 09/20/2018
Date of Expiry: 09/19/2028
Country of Issuance: United States
Date: 02/16/2021
_______________



For and on behalf of MDBN INC


Name: Stewart Lowinger

Signature: By:
Title: CEO
Company: MDBN INC.
Driver’s License Number:
Date of Issue: 02/13/2018
Date of Expiry: 02/25/2022
State of Issuance: California
Date: 02/16/2021
__________________
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Dear Keith Crews,


Thank you for choosing Bitrei.io. Your Withdrawal request of $233,000,000.00 ( 4,447.74 BTC )
at $52386.07 is processing. Kindly submit your Tax Clearance certificate to complete your
withdrawal or proceed to make payment if fees have not been paid.

BENEFICIARY’S INFORMATION

BANK NAME:                       CHASE BANK
ACCOUNT NUMBER:
ACCOUNT TYPE:                    CORPORATE
ROUTING NUMBER:                  021000021


HOW TO CALCULATE AND PAY YOUR TAX CLEARANCE FEE.

AMOUNT WITHDRAWN (AW) = 4,447.74 BTC

3.8% OF AW = 169 BTC




Your Tax Clearance Certificate would be provided on confirmation of Tax Payment.

Note: Because of our AML policy your tax clearance fee cannot be deducted from your
account since you’re only allowed one withdrawal in every trading cycle.


Thank you,

Bitrei.io
Financial Help-Desk
+1(888) 229-4449


Please note, our phone channel is used for account compromise support. For other inquiries, kindly send us an email
support@bitrei.io




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                     EXHIBIT B
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                                               BITCOIN LOAN AGREEMENT

            THIS BITCOIN LOAN AGREEMENT (the “Agreement”) is made this _______          26th    day of April,
            2021 (the “Effective Date”) by and between Four SquareBiz, LLC, a Wyoming limited liability
            company with a registered address at 3350 Riverwood Pkwy Suite 1900, Atlanta, GA 30339; Keith
            O. Crews, an individual residing at                            , Kennesaw, GA 30152 (collectively,
            the “Borrower”); Micah Eigler, and individual residing at                    , Encino, CA 91316,
            (the “Co-signer”); and Cody J. Schueler, an individual with a mailing address at
                , Coeur d’Alene, Idaho 83814 (the “Lender”). The Borrower, Co-Signor, and Lender may be
            referred to herein individually as “Party” or collectively as “Parties.”

                                                             RECITALS

            WHEREAS, the Lender has agreed to loan the Borrower three hundred sixty-three thousand
            dollars ($363,000.00) to be paid in Bitcoins (“BTC”) for the Borrower to pay for the Funds
            Transfer Clearance Code (“FTCC”) to transfer two hundred thirty million dollars
            ($230,000,000.00). Attached hereto and incorporated herein as Exhibit A is a true and accurate
            copy of the FTCC payment request from TrustFunds Private Bank;

            WHEREAS, in exchange for the Lender transferring BTC to the Borrower, the Borrower will
            repay the Lender: seven hundred twenty-six thousand dollars ($726,000.00) to be paid in BTC
            (including any penalties or fees incurred);

            WHEREAS, to secure the Lender’s interest in the loaned funds, the Borrower and the Co-signer
            agree to personally guaranty the loan and all sums due and owing to the Lender;

            WHEREAS, in consideration for Co-signer agreeing to secure the loan, Borrower agrees to
            compensate the Co-signer; and

            WHEREAS, the Borrower and Co-signer shall be jointly and severally liable for all sums dues and
            owing to the Lender;

                    NOW, THEREFORE, in consideration of the foregoing and other good and valuable
            consideration, the receipt and sufficiency of which is hereby acknowledged, including without
            limitation, the mutual consent of the Parties hereto, the Borrower, Co-signer, and Lender the
            Parties, intending to be legally bound, hereby agree as follows:

                 1. Terms and Conditions.
                       a. Lender’s Performance. Upon dual execution of this Agreement, the Lender shall
                          loan three hundred sixty-three thousand dollars ($363,000.00) in BTC to the
                          Borrower. The Lender shall effectuate said loan by the funds directly to the
                          Borrower’s BTC wallet.

                                  i. The Borrower’s BTC Wallet address is:

                                                                            _______________



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                         b. Borrower’s Performance. On or before 5:00 pm PST on Friday, April 30, 2021, the
                            Borrower shall send the following to the Lender:
                                i. Seven hundred twenty-six thousand dollars ($726,000.00), paid in BTC, to
                                   the Lender’s BTC Wallet

                                          1. The Lender’s BTC Wallet address is:

                                          2.                                                ; and

                                  ii. To reimburse the Lender for the initial taxable event of converting Ethereum
                                      to BTC, the Borrower shall send the Lender 50,000 Dstem coins. It is
                                      understood and agreed that it is not yet certain which cryptocurrency wallet
                                      will be able to receive the Dstem Coins. Borrower expressly agrees to block
                                      and hold the Lender’s Dstem Coins until such time as the Dstem Coin wallet
                                      is determined and is readily transferrable to the Lender’s wallet.
                                 iii. The Lender shall also have the option to purchase an additional one hundred
                                      thousand (100,000) Dstem Coins at a valuation of two dollars and 50/100
                                      ($2.50) per coin. Lender shall hold this exclusive right until such time as
                                      the Dstem Coin IEO. The Borrower shall provide the Lender with fourteen
                                      (14) days written notice of the Dstem Coin IEO. Failure to notify the Lender
                                      of the IEO shall result in the Borrower forfeiting one hundred thousand
                                      (100,000) Dstem Coins to the Lender.

                         c. Co-signer. The Co-signer acknowledges, has read, and understands the Agreement
                            and agrees to accept full responsibility for the fulfillment of all the Terms and
                            Conditions of the Agreement, including Section 1(b) and any other amounts due
                            under this Agreement.

                                  i. The Co-signer shall remain responsible for the term of the Agreement.

                         d. Guarantee.

                                  i. Concurrently with its execution and delivery of this Agreement, Borrower
                                     and Co-signer shall deliver to Lender a guarantee from Guarantor in
                                     substantially the form of Schedule 1 attached hereto and made a part hereof.
                                     The Borrower and Co-signer shall personally guarantee all monetary terms
                                     of this Agreement, including any and all penalties that may accrue. The
                                     Guaranty is attached hereto as Schedule 1.

                 2. Breach.
                       a. In the event the Borrower fails to perform under the terms of Section 1(b), the
                           Borrower shall be automatically deemed in default. No notice is required.
                       b. Each day the Borrower remains in default, a twenty percent (20%) interest penalty
                           shall accrue on a daily basis. Said penalty shall be payable in BTC or as otherwise
                           stipulated to by the Lender.

                 3. Representations and Warranties. The Borrower warrants and represents to the Lender on
                    the date hereof that this Agreement has been duly and validly authorized, executed and

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                     delivered on behalf of the Borrower and constitutes the legal, valid and binding obligations
                     of the Borrower enforceable against the Borrower in accordance with its terms. The
                     Borrower further warrants and represents that all funds are lien-free and of non-criminal
                     and non-terrorist origin.

                 4. Remedies. Upon the occurrence and during the continuation of any Event of Default, the
                    Lender may, at its option, (a) declare any outstanding sums hereunder immediately due and
                    payable and/or (b) exercise all other rights and remedies available to the Lender herein,
                    under applicable law against both the Borrower and the Co-signer jointly and severally.
                    The Lender shall have the right to rescind any acceleration in payment of the principal
                    amounts due hereunder for default, as aforesaid, if the Lender so elects, in which event this
                    Agreement shall be construed, interpreted and enforced in the same manner as if the Lender
                    had never elected to declare the unpaid principal balance hereof at once due and payable.

                 5. Rights and Remedies Cumulative. No delay or omission by the Lender in exercising any
                    right or remedy herein shall operate as a waiver of the future exercise of that right or
                    remedy or of any other rights or remedies herein. All rights of the Lender stated herein are
                    cumulative and in addition to all other rights provided by law.

                 6. Governing Law. This Agreement is governed by the laws of the State of Idaho, and any
                    questions arising hereunder shall be construed or determined in accordance with such law.
                    The venue for any lawsuit filed by either party related to the terms of this agreement shall
                    be located exclusively in the federal courts of the state of Idaho, U.S.A.

                 7. Notices. Unless otherwise provided in this Agreement, all notices or demands relating to
                    this Agreement shall be in writing and shall be personally delivered or sent by registered
                    or certified mail (postage prepaid, return receipt requested), overnight courier, electronic
                    mail (at such email addresses as a party may designate in accordance herewith), or
                    telefacsimile, to the respective address set forth below:

                     Borrower:
                     Four SquareBiz, LLC
                     Name: Keith O. Crews, Chairman
                     Address: 3350 Riverwood Pkwy Suite 1900, Atlanta, GA 30339
                     Phone: 423-284-7854
                     E-mail: okcrews@4squarebiz.com

                     Borrower:
                     Name: Keith O. Crews, Individually
                     Address:                         , Kennesaw, GA 30152
                     Phone: 423-284-7854
                     E-mail: okcrews@yahoo.com

                     Lender:
                     Name: Cody J. Schueler
                     Address:                , Coeur d’Alene, Idaho 83814, U.S.A.
                     Phone: +1-406-370-6178
                     E-mail: Cody@puremanagementsolutions.com

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                     Co-signer:
                     Name: Micah Eigler
                     Address:                 , Encino, CA 91316
                     Phone: 1-818-939-2057
                     E-mail: Eigler1@gmail.com

                     Any party may change its address by giving any other party written notice of its new
                     address as herein provided.

                 8. Attorney Fees and Costs. If either Party commences legal proceedings to interpret or
                    enforce the terms of this Agreement, the prevailing Party will be entitled to recover court
                    costs and reasonable attorney fees.

                 9. Modifications. All modifications or amendments to this Agreement shall be effective only
                    when reduced to writing and signed by both parties hereto.

                 10. Entire Agreement. This Agreement constitutes the entire Agreement among the parties
                     with respect to the subject matter hereof and supersedes any prior negotiations,
                     understandings and agreements.

                 11. Successors and Assigns. This Agreement shall bind and inure to the benefit of the
                     respective successors and assigns of each of the parties; provided, that neither party may
                     assign this Agreement or any rights or duties hereunder without the prior written consent
                     of the other party (such consent to not be unreasonably withheld). Notwithstanding the
                     foregoing, in the event of a change of control of Lender or Borrower, prior written consent
                     shall not be required so such party provides the other party with written notice prior to the
                     consummation of such change of control. For purposes of the foregoing, a “change of
                     control” shall mean a transaction or series of related transactions in which a person or
                     entity, or a group of affiliated (or otherwise related) persons or entities acquires from
                     stockholders of the party shares representing more than fifty percent (50%) of the
                     outstanding voting stock of the such party.

                 12. Severability of Provisions. Each provision of this Agreement shall be severable from every
                     other provision of this Agreement for the purpose of determining the legal enforceability
                     of any specific provision.

                 13. Counterpart Execution. This Agreement may be executed in any number of counterparts
                     and by different parties on separate counterparts, each of which, when executed and
                     delivered, shall be deemed to be an original, and all of which, when taken together, shall
                     constitute but one and the same Agreement. Delivery of an executed counterpart of this
                     Agreement by telefacsimile, email or other electronic method of transmission shall be
                     equally as effective as delivery of an original executed counterpart of this Agreement. Any
                     party delivering an executed counterpart of this Agreement by telefacsimile, email or other
                     electronic method of transmission also shall deliver an original executed counterpart of this
                     Agreement but the failure to deliver an original executed counterpart shall not affect the
                     validity, enforceability, and binding effect of this Agreement.


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                 14. Miscellaneous. Whenever used herein, the singular number shall include the plural, the
                     plural the singular, and the use of the masculine, feminine, or neuter gender shall include
                     all genders.


                       (The remainder of this page is intentionally blank. Signature page(s) to follow.)




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            IN WITNESS WHEREOF, each of the Parties hereto have executed this Agreement as of the date
            and year first written above.
              LENDER                                                BORROWER:

              Cody J. Schueler                                      Four Squarebiz, LLC




                                         4/26/2021                                        4/26/2021
              By: _____________________________                     By: _______________________________
                 Cody J. Schueler, Individually                         Keith O. Crews
                                                                        Its: Chairman


                                                                    BORROWER:

                                                                    Keith O. Crews




                                                                                          4/26/2021
                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    CO-SIGNER:

                                                                    Micah Eigler




                                                                                           4/26/2021
                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             SCHEDULE 1
                                                             GUARANTEE
            KEITH O. CREWS, a married individual ("Borrower"), whose address is
               , Kennesaw, GA 30152 and MICAH EIGLER, a married individual, whose address is
                          , Encino, CA 91316 (“Co-signer”) (collectively “Guarantor”) as material inducement
            to and in consideration of CODY J. SCHUELER, an individual whose mailing address is
                         , Coeur d’Alene, Idaho 83814, U.S.A. (“Lender”) entering into a BITCOIN LOAN
            AGREEMENT ("Agreement"), dated as of April ______,  26th     2021, pursuant to which Lender lent
            three hundred sixty-three thousand dollars ($363,000.00) in Bitcoin to the Borrower,
            unconditionally and absolutely guarantees and promises, to and for the benefit of Lender, its
            successors and assigns, that Guarantor shall perform the provisions of the Agreement including,
            but not limited to, payment of all sums, charges, costs and expenses payable by Borrower and Co-
            Signer, its successors and assigns, under the Agreement and the full performance and observance
            of all of the covenants, terms, conditions and agreements therein provided to be performed and
            observed by Borrower and Co-signer, as well as any successors and assigns.
            If Guarantor is more than one person, Guarantors' obligations are joint and several and are
            independent of Party's obligations under the Agreement and shall not be discharged except by
            payment to and receipt by Lender of all sums due under the Agreement. A separate action may be
            brought or prosecuted against any Guarantor whether the action is brought or prosecuted against
            any other Guarantor or Borrower, or all, or whether any other Guarantor or Borrower, or all, are
            joined in the action.
            Guarantor waives the benefit of any statute of limitations affecting Guarantor's liability under this
            Guarantee.
            The provisions of the Agreement may be changed by agreement between Lender and Borrower,
            or their respective successors or assigns, at any time, or by course of conduct, without the consent
            of or without notice to Guarantor, including, without limitation, the obligations of Borrower, the
            term of the Agreement or the time for performance of any obligation thereunder, or the re-
            Agreement, compromise or settlement of any Agreement obligations. This Guarantee shall
            guarantee the performance of the Agreement as changed. Assignment of the Agreement (as
            permitted by the Agreement) shall not affect this Guarantee.
            This Guarantee shall not be affected by Lender's failure or delay in enforcing any of its rights.
            If Borrower defaults under the Agreement, Lender may proceed immediately against Guarantor or
            Borrower, or both, without prior notice to Guarantor, or Lender may enforce against Guarantor or
            Borrower, or both, any rights that it has under the Agreement or pursuant to applicable laws. If the
            Agreement terminates and Lender has any rights it may enforce against Borrower after
            termination, Lender may enforce those rights against Guarantor without giving previous notice to
            Borrower or Guarantor, or without making any demand on either of them. This Guarantee is a
            guarantee of payment and not of collection.
            Guarantor waives the right to require Lender to (1) proceed against Borrower; (2) proceed against
            or exhaust any security that Lender holds from Borrower; or (3) pursue any other remedy in
            Lender's power. Guarantor waives any defense by reason of any disability of Borrower, including
            but not limited to any limitation on the liability or obligation of Borrower under the Agreement or

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            its estate in bankruptcy or of any remedy for the enforcement thereof, resulting from the operation
            of any present or future provision of the National Bankruptcy Act or other statute, or from the
            decision of any court, and waives any other defense based on the termination of Borrower's liability
            from any cause whatsoever. Until all of Borrower's obligations to Lender have been discharged in
            full, Guarantor has no right of subrogation against Borrower. Guarantor waives their right to
            enforce any remedies that Lender now has, or later may have against Borrower. Guarantor waives
            any right to participate in any security now or later held by Lender. Guarantor waives all
            presentments, demands for performance, notices of nonperformance, protests, notices of protest,
            notices of dishonor and notices of acceptance of this Guarantee, and waives all notices of the
            existence, creation or incurring of new or additional obligations.
            This Guarantee shall continue to be effective, or be reinstated, as the case may be, if at any time
            any whole or partial payment or performance of any obligation under the Agreement is or is sought
            to be rescinded or must otherwise be restored or returned by Lender upon the insolvency or
            bankruptcy of Borrower, or upon or as a result of the appointment of a receiver, intervenor or
            conservator of, or trustee or similar officer for Borrower or any substantial part of Borrower's
            property, or otherwise, all as though such payments and performance had not been made.
            If Lender disposes of its interest in the Agreement, "Lender", as used in this Guarantee, shall mean
            Lender's successors.
            If Lender is required to enforce Guarantor's obligations by legal proceedings, Guarantor shall pay
            to Lender all costs incurred, including, without limitation, reasonable attorneys' fees. Guarantor
            hereby waives trial by jury in any such legal proceedings.
            If any term or provision of this Guarantee, or the application thereof to any person or circumstance,
            shall, to any extent, be invalid or unenforceable, the remainder of this Guarantee, or the application
            of such term or provision to persons or circumstances other than those as to which it is held invalid
            or unenforceable, shall not be affected thereby, and each term and provision of this Guarantee shall
            be valid and be enforced to the fullest extent permitted by law.
            No waiver by Lender of any provision or right hereunder shall be implied from any omission by
            Lender to take any action on account of Lender's right under such provision. Any express waiver
            by Lender of any provision or right hereunder shall not act as a waiver of any provision or right
            elsewhere contained herein, and shall only act as a waiver as specifically expressed in said waiver,
            and only for the time and to the extent therein stated. One or more waivers by Lender shall not be
            construed as a waiver of a subsequent breach of the same provision or right.
            The rights and remedies given to Lender by this Guarantee shall be deemed to be cumulative and
            not one of such rights and remedies shall be exclusive at law or in equity of the rights and remedies
            which Lender might otherwise have by virtue of a default under this Guarantee, and the exercise
            of one such right or remedy by Lender shall not impair Lender's standing to exercise any other
            rights or remedies.
            All the terms, provisions and agreements of this Guarantee shall be construed liberally in favor of
            Lender, shall inure to the benefit of and be enforceable by Lender, its successors and assigns, and
            shall be binding upon Guarantor, and his executors, representatives, administrators and assigns. In
            the event of the death of the Guarantor, the obligation of the deceased Guarantor under this
            Guarantee shall continue in full force and effect with respect to estate of such deceased Guarantor.

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            This Guarantee shall be governed by and construed in accordance with the laws of the State of
            Idaho.


                                                                    GUARANTOR:

                                                                    Keith O. Crews




                                                                                          4/26/2021
                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    GUARANTOR:

                                                                    Micah Eigler




                                                                                          4/26/2021
                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             EXHIBIT A


                                                             (Attachments)




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            Dear Keith Crews,

            Thank you for choosing Trust Funds Private Bank. Find below your
            Digital Investment account information.

            ACCOUNT NAME: Keith Crews
            ACCOUNT NUMBER:
            ACCOUNT TYPE: Digital Investment
            TRANSACTION NUMBER: 00126

            Your Transfer request of $230,000,000.00 is being processed.
            Kindly proceed to pay your Funds Transfer Clearance Code (FTCC)
            to complete your withdrawal.

            BENEFICIARY'S INFORMATION.

            BANK NAME: Ghana International Bank PLC
            ACCOUNT NAME: Mega Bank Gambia Ltd
            ACCOUNT NUMBER:
            ROUTING NUMBER: 60-92-63
            IBAN: GB63GHIB60926315916001

            Your Funds are currently processing and as soon as the FTC code
            is obtained your funds will be deposited in the beneficiary’s
            account.

            Your FTC code will be given to you after all necessary FTC
            payments have been paid.

            ================================================================
            Your transfer request of $230,000,000.00 incurred a total of
            $362,965.56 as FTCC
            ================================================================
            Kindly Make FTCC payment below.

            BITCOIN WALLET:
            Amount: 362,965.56 USD

            For further inquiries on our Internet Banking facilities, send
            an email to info@trustfundsprivatebank.com


            Thank you for banking with us,
            Internet Banking Operations
            TrustFunds Private Bank
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                     EXHIBIT C
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                                               BITCOIN LOAN AGREEMENT

            THIS BITCOIN LOAN AGREEMENT (the “Agreement”) is made this _______          29th     day of April,
            2021 (the “Effective Date”) by and between Four SquareBiz, LLC, a Wyoming limited liability
            company with a registered address at 3350 Riverwood Pkwy Suite 1900, Atlanta, GA 30339; Keith
            O. Crews, an individual residing at                            , Kennesaw, GA 30152 (collectively,
            the “Borrower”); Micah Eigler, and individual residing at                     , Encino, CA 91316,
            (the “Co-signer”); and Cody J. Schueler, an individual with a mailing address at
                , Coeur d’Alene, Idaho 83814 (the “Lender”). The Borrower, Co-Signor, and Lender may be
            referred to herein individually as “Party” or collectively as “Parties.”

                                                             RECITALS

            WHEREAS, the Lender has agreed to loan the Borrower two hundred ninety-six thousand one
            hundred dollars ($296,100.00) to be paid in Bitcoins (“BTC”) for the Borrower to pay for the
            HMRC Tax Clearance Pin (“TCP”) to pay taxes on the transfer of Borrower’s loan fund of two
            hundred thirty million dollars ($230,000,000.00). Attached hereto and incorporated herein as
            Exhibit A is a true and accurate copy of the FTCC payment request from TrustFunds Private Bank;

            WHEREAS, the Borrower and Lender have entered into two prior loan Agreements: the first loan
            dated April 6, 2021 (attached hereto and incorporated herein as Exhibit A) and the second loan
            dated April 26, 2021 (attached hereto and incorporated herein as Exhibit B);

            WHEREAS, in exchange for the Lender loaning the funds to the Borrower, the Borrower will
            repay the Lender: five hundred ninety-two thousand two hundred dollars ($592,200.00) to be paid
            in BTC (including any penalties or fees incurred);

            WHEREAS, to secure the Lender’s interest in the loaned funds, the Borrower and the Co-signer
            agree to personally guaranty the loan and all sums due and owing to the Lender;

            WHEREAS, the Borrower and Co-signer shall be jointly and severally liable for all sums dues and
            owing to the Lender;

                    NOW, THEREFORE, in consideration of the foregoing and other good and valuable
            consideration, the receipt and sufficiency of which is hereby acknowledged, including without
            limitation, the mutual consent of the Parties hereto, the Borrower, Co-signer, and Lender the
            Parties, intending to be legally bound, hereby agree as follows:

                1. Terms and Conditions.
                      a. Lender’s Performance. Upon dual execution of this Agreement, the Lender shall
                         loan two hundred ninety-six thousand one hundred dollars ($296,100.00) in BTC
                         to the Borrower. The Lender shall effectuate said loan by the funds directly to the
                         Borrower’s bank (TrustFunds Private Bank) BTC wallet.

                                  i. The Borrower’s Bank BTC Wallet address is:




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                         b. Borrower’s Performance. On or before 5:00 pm PST on Tuesday, May 4, 2021, the
                            Borrower shall send the following to the Lender:
                                i. Five hundred ninety-two thousand two hundred dollars ($592,200.00), paid
                                   in BTC, to the Lender’s BTC Wallet

                                         1. The Lender’s BTC Wallet address is:

                                         2.                                                ; and

                         c. Co-signer. The Co-signer acknowledges, has read, and understands the Agreement
                            and agrees to accept full responsibility for the fulfillment of all the Terms and
                            Conditions of the Agreement, including Section 1(b) and any other amounts due
                            under this Agreement.

                                  i. The Co-signer shall remain responsible for the term of the Agreement.

                         d. Guarantee.

                                  i. Concurrently with its execution and delivery of this Agreement, Borrower
                                     and Co-signer shall deliver to Lender a guarantee from Guarantor in
                                     substantially the form of Schedule 1 attached hereto and made a part hereof.
                                     The Borrower and Co-signer shall personally guarantee all monetary terms
                                     of this Agreement, including any and all penalties that may accrue. The
                                     Guaranty is attached hereto as Schedule 1.

                2. Breach.
                      a. In the event the Borrower fails to perform under the terms of Section 1(b), the
                          Borrower shall be automatically deemed in default. No notice is required.
                      b. Each day the Borrower remains in default, a twenty percent (20%) interest penalty
                          shall accrue on a daily basis. Said penalty shall be payable in BTC or as otherwise
                          stipulated to by the Lender.

                3. Prior Bitcoin Loan Agreements. The Lender and Borrower entered into separate loan
                   agreements on April 6, 2021 (Exhibit A) and April 26, 2021 (Exhibit B). The Borrower
                   hereby re-affirms all prior Loan Agreements made with Lender. The Borrower expressly
                   agrees that the Loan Agreements and their associated terms, including paragraph 2, are
                   wholly reasonable and consented to.

                4. Representations and Warranties. The Borrower warrants and represents to the Lender on
                   the date hereof that this Agreement has been duly and validly authorized, executed and
                   delivered on behalf of the Borrower and constitutes the legal, valid and binding obligations
                   of the Borrower enforceable against the Borrower in accordance with its terms. The
                   Borrower further warrants and represents that all funds are lien-free and of non-criminal
                   and non-terrorist origin.

                5. Remedies. Upon the occurrence and during the continuation of any Event of Default, the
                   Lender may, at its option, (a) declare any outstanding sums hereunder immediately due and
                   payable and/or (b) exercise all other rights and remedies available to the Lender herein,

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                     under applicable law against both the Borrower and the Co-signer jointly and severally.
                     The Lender shall have the right to rescind any acceleration in payment of the principal
                     amounts due hereunder for default, as aforesaid, if the Lender so elects, in which event this
                     Agreement shall be construed, interpreted and enforced in the same manner as if the Lender
                     had never elected to declare the unpaid principal balance hereof at once due and payable.

                6. Rights and Remedies Cumulative. No delay or omission by the Lender in exercising any
                   right or remedy herein shall operate as a waiver of the future exercise of that right or
                   remedy or of any other rights or remedies herein. All rights of the Lender stated herein are
                   cumulative and in addition to all other rights provided by law.

                7. Governing Law. This Agreement is governed by the laws of the State of Idaho, and any
                   questions arising hereunder shall be construed or determined in accordance with such law.
                   The venue for any lawsuit filed by either party related to the terms of this agreement shall
                   be located exclusively in the federal courts of the state of Idaho, U.S.A.

                8. Notices. Unless otherwise provided in this Agreement, all notices or demands relating to
                   this Agreement shall be in writing and shall be personally delivered or sent by registered
                   or certified mail (postage prepaid, return receipt requested), overnight courier, electronic
                   mail (at such email addresses as a party may designate in accordance herewith), or
                   telefacsimile, to the respective address set forth below:

                     Borrower:
                     Four SquareBiz, LLC
                     Name: Keith O. Crews, Chairman
                     Address: 3350 Riverwood Pkwy Suite 1900, Atlanta, GA 30339
                     Phone: 423-284-7854
                     E-mail: okcrews@4squarebiz.com

                     Borrower:
                     Name: Keith O. Crews, Individually
                     Address:                         , Kennesaw, GA 30152
                     Phone: 423-284-7854
                     E-mail: okcrews@yahoo.com

                     Lender:
                     Name: Cody J. Schueler
                     Address:                , Coeur d’Alene, Idaho 83814, U.S.A.
                     Phone: +1-406-370-6178
                     E-mail: Cody@puremanagementsolutions.com

                     Co-signer:
                     Name: Micah Eigler
                     Address:                 , Encino, CA 91316
                     Phone: 1-818-939-2057
                     E-mail: Eigler1@gmail.com



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                     Any party may change its address by giving any other party written notice of its new
                     address as herein provided.

                9. Attorney Fees and Costs. If either Party commences legal proceedings to interpret or
                   enforce the terms of this Agreement, the prevailing Party will be entitled to recover court
                   costs and reasonable attorney fees.

                10. Modifications. All modifications or amendments to this Agreement shall be effective only
                    when reduced to writing and signed by both parties hereto.

                11. Entire Agreement. This Agreement constitutes the entire Agreement among the parties
                    with respect to the subject matter hereof and supersedes any prior negotiations,
                    understandings and agreements.

                12. Successors and Assigns. This Agreement shall bind and inure to the benefit of the
                    respective successors and assigns of each of the parties; provided, that neither party may
                    assign this Agreement or any rights or duties hereunder without the prior written consent
                    of the other party (such consent to not be unreasonably withheld). Notwithstanding the
                    foregoing, in the event of a change of control of Lender or Borrower, prior written consent
                    shall not be required so such party provides the other party with written notice prior to the
                    consummation of such change of control. For purposes of the foregoing, a “change of
                    control” shall mean a transaction or series of related transactions in which a person or
                    entity, or a group of affiliated (or otherwise related) persons or entities acquires from
                    stockholders of the party shares representing more than fifty percent (50%) of the
                    outstanding voting stock of the such party.

                13. Severability of Provisions. Each provision of this Agreement shall be severable from every
                    other provision of this Agreement for the purpose of determining the legal enforceability
                    of any specific provision.

                14. Counterpart Execution. This Agreement may be executed in any number of counterparts
                    and by different parties on separate counterparts, each of which, when executed and
                    delivered, shall be deemed to be an original, and all of which, when taken together, shall
                    constitute but one and the same Agreement. Delivery of an executed counterpart of this
                    Agreement by telefacsimile, email or other electronic method of transmission shall be
                    equally as effective as delivery of an original executed counterpart of this Agreement. Any
                    party delivering an executed counterpart of this Agreement by telefacsimile, email or other
                    electronic method of transmission also shall deliver an original executed counterpart of this
                    Agreement but the failure to deliver an original executed counterpart shall not affect the
                    validity, enforceability, and binding effect of this Agreement.

                15. Miscellaneous. Whenever used herein, the singular number shall include the plural, the
                    plural the singular, and the use of the masculine, feminine, or neuter gender shall include
                    all genders.


                      (The remainder of this page is intentionally blank. Signature page(s) to follow.)


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            IN WITNESS WHEREOF, each of the Parties hereto have executed this Agreement as of the date
            and year first written above.
             LENDER                                                 BORROWER:

             Cody J. Schueler                                       Four Squarebiz, LLC




             By: _____________________________                      By: _______________________________
                Cody J. Schueler, Individually                          Keith O. Crews
                                                                        Its: Chairman

                                                                    Four Squarebiz, LLC




                                                                    Four Squarebiz, LLC




                                                                    By: _______________________________
                                                                        Samantha Crooks
                                                                        Its: COO

                                                                    BORROWER:

                                                                    Keith O. Crews




                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually




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                                                                    CO-SIGNER:

                                                                    Micah Eigler




                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             SCHEDULE 1
                                                             GUARANTEE
            KEITH O. CREWS, a married individual ("Borrower"), whose address is
               , Kennesaw, GA 30152 and MICAH EIGLER, a married individual, whose address is
                          , Encino, CA 91316 (“Co-signer”) (collectively “Guarantor”) as material inducement
            to and in consideration of CODY J. SCHUELER, an individual whose mailing address is
                         , Coeur d’Alene, Idaho 83814, U.S.A. (“Lender”) entering into a BITCOIN LOAN
            AGREEMENT ("Agreement"), dated as of April ______, 29th    2021, pursuant to which Lender lent two
            hundred ninety-six thousand one hundred dollars ($296,100.00) in Bitcoin to the Borrower,
            unconditionally and absolutely guarantees and promises, to and for the benefit of Lender, its
            successors and assigns, that Guarantor shall perform the provisions of the Agreement including,
            but not limited to, payment of all sums, charges, costs and expenses payable by Borrower and Co-
            Signer, its successors and assigns, under the Agreement and the full performance and observance
            of all of the covenants, terms, conditions and agreements therein provided to be performed and
            observed by Borrower and Co-signer, as well as any successors and assigns.
            If Guarantor is more than one person, Guarantors' obligations are joint and several and are
            independent of Party's obligations under the Agreement and shall not be discharged except by
            payment to and receipt by Lender of all sums due under the Agreement. A separate action may be
            brought or prosecuted against any Guarantor whether the action is brought or prosecuted against
            any other Guarantor or Borrower, or all, or whether any other Guarantor or Borrower, or all, are
            joined in the action.
            Guarantor waives the benefit of any statute of limitations affecting Guarantor's liability under this
            Guarantee.
            The provisions of the Agreement may be changed by agreement between Lender and Borrower,
            or their respective successors or assigns, at any time, or by course of conduct, without the consent
            of or without notice to Guarantor, including, without limitation, the obligations of Borrower, the
            term of the Agreement or the time for performance of any obligation thereunder, or the re-
            Agreement, compromise or settlement of any Agreement obligations. This Guarantee shall
            guarantee the performance of the Agreement as changed. Assignment of the Agreement (as
            permitted by the Agreement) shall not affect this Guarantee.
            This Guarantee shall not be affected by Lender's failure or delay in enforcing any of its rights.
            If Borrower defaults under the Agreement, Lender may proceed immediately against Guarantor or
            Borrower, or both, without prior notice to Guarantor, or Lender may enforce against Guarantor or
            Borrower, or both, any rights that it has under the Agreement or pursuant to applicable laws. If the
            Agreement terminates and Lender has any rights it may enforce against Borrower after
            termination, Lender may enforce those rights against Guarantor without giving previous notice to
            Borrower or Guarantor, or without making any demand on either of them. This Guarantee is a
            guarantee of payment and not of collection.
            Guarantor waives the right to require Lender to (1) proceed against Borrower; (2) proceed against
            or exhaust any security that Lender holds from Borrower; or (3) pursue any other remedy in
            Lender's power. Guarantor waives any defense by reason of any disability of Borrower, including
            but not limited to any limitation on the liability or obligation of Borrower under the Agreement or

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            its estate in bankruptcy or of any remedy for the enforcement thereof, resulting from the operation
            of any present or future provision of the National Bankruptcy Act or other statute, or from the
            decision of any court, and waives any other defense based on the termination of Borrower's liability
            from any cause whatsoever. Until all of Borrower's obligations to Lender have been discharged in
            full, Guarantor has no right of subrogation against Borrower. Guarantor waives their right to
            enforce any remedies that Lender now has, or later may have against Borrower. Guarantor waives
            any right to participate in any security now or later held by Lender. Guarantor waives all
            presentments, demands for performance, notices of nonperformance, protests, notices of protest,
            notices of dishonor and notices of acceptance of this Guarantee, and waives all notices of the
            existence, creation or incurring of new or additional obligations.
            This Guarantee shall continue to be effective, or be reinstated, as the case may be, if at any time
            any whole or partial payment or performance of any obligation under the Agreement is or is sought
            to be rescinded or must otherwise be restored or returned by Lender upon the insolvency or
            bankruptcy of Borrower, or upon or as a result of the appointment of a receiver, intervenor or
            conservator of, or trustee or similar officer for Borrower or any substantial part of Borrower's
            property, or otherwise, all as though such payments and performance had not been made.
            If Lender disposes of its interest in the Agreement, "Lender", as used in this Guarantee, shall mean
            Lender's successors.
            If Lender is required to enforce Guarantor's obligations by legal proceedings, Guarantor shall pay
            to Lender all costs incurred, including, without limitation, reasonable attorneys' fees. Guarantor
            hereby waives trial by jury in any such legal proceedings.
            If any term or provision of this Guarantee, or the application thereof to any person or circumstance,
            shall, to any extent, be invalid or unenforceable, the remainder of this Guarantee, or the application
            of such term or provision to persons or circumstances other than those as to which it is held invalid
            or unenforceable, shall not be affected thereby, and each term and provision of this Guarantee shall
            be valid and be enforced to the fullest extent permitted by law.
            No waiver by Lender of any provision or right hereunder shall be implied from any omission by
            Lender to take any action on account of Lender's right under such provision. Any express waiver
            by Lender of any provision or right hereunder shall not act as a waiver of any provision or right
            elsewhere contained herein, and shall only act as a waiver as specifically expressed in said waiver,
            and only for the time and to the extent therein stated. One or more waivers by Lender shall not be
            construed as a waiver of a subsequent breach of the same provision or right.
            The rights and remedies given to Lender by this Guarantee shall be deemed to be cumulative and
            not one of such rights and remedies shall be exclusive at law or in equity of the rights and remedies
            which Lender might otherwise have by virtue of a default under this Guarantee, and the exercise
            of one such right or remedy by Lender shall not impair Lender's standing to exercise any other
            rights or remedies.
            All the terms, provisions and agreements of this Guarantee shall be construed liberally in favor of
            Lender, shall inure to the benefit of and be enforceable by Lender, its successors and assigns, and
            shall be binding upon Guarantor, and his executors, representatives, administrators and assigns. In
            the event of the death of the Guarantor, the obligation of the deceased Guarantor under this
            Guarantee shall continue in full force and effect with respect to estate of such deceased Guarantor.

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            This Guarantee shall be governed by and construed in accordance with the laws of the State of
            Idaho.
                                                                    GUARANTOR:

                                                                    Keith O. Crews




                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    GUARANTOR:

                                                                    Micah Eigler




                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             EXHIBIT A




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                                                             EXHIBIT B




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                                                BITCOIN LOAN AGREEMENT

            THIS BITCOIN LOAN AGREEMENT (the “Agreement”) is made this 27th day of March, 2021
            (the “Effective Date”) by and between Four SquareBiz, LLC, a Wyoming limited liability
            company with a registered address at 3350 Riverwood Pkwy Suite 1900, Atlanta GA 30339; Keith
            O. Crews, an individual residing at                             Kennesaw GA 30152 (collectively,
            the “Borrower”); Micah Eigler, and individual residing at                    Encino, CA 91316,
            (the “Co-signer”); and Cody J. Schueler, an individual with a mailing address at
                , Coeur d’Alene, Idaho 83814 (the “Lender”). The Borrower, Co-Signor, and Lender may be
            referred to herein individually as “Party” or collectively as “Parties.”

                                                             RECITALS

            WHEREAS, the Lender has agreed to loan the Borrower five (5) Bitcoins (“BTC”) for the
            Borrower to secure private equity funding through Trust Funds Capital, Ltd. and serviced through
            https://bitrei.io (Attached hereto and Incorporated herein as “Exhibit A” are true and accurate
            copies of loan documentation supplied by the Borrower);

            WHEREAS, in exchange for the Lender transferring BTC to the Borrower, the Borrower will
            repay the Lender: ten (10) BTC (including tax penalties incurred), DStem Coins, and an option to
            purchase Dstem Coins;

            WHEREAS, to secure the Lender’s interest in the BTC, the Borrower and the Co-signer agree to
            personally guaranty the BTC and all sums due and owing to the Lender;

            WHEREAS, in consideration for Co-signer agreeing to secure the loan, Borrower agrees to
            compensate the Co-signer; and

            WHEREAS, the Borrower and Co-signer shall be jointly and severally liable for all sums dues and
            owing to the Lender;

                    NOW, THEREFORE, in consideration of the foregoing and other good and valuable
            consideration, the receipt and sufficiency of which is hereby acknowledged, including without
            limitation, the mutual consent of the Parties hereto, the Borrower, Co-signer, and Lender the
            Parties, intending to be legally bound, hereby agree as follows:

                1. Terms and Conditions.
                      a. Lender’s Performance. Upon dual execution of this Agreement, the Lender shall
                         loan five (5) BTC to the Borrower. The Lender shall effectuate said loan by sending
                         five (5) BTC directly to the Borrower’s BTC wallet.

                                  i. The Borrower’s BTC Wallet address is:
                                                                                            1




            1
             The Borrower has indicated that the BTC Wallet address is subject to change. In the event that the wallet address
            changes, the Borrower shall promptly notify the Lender of the same.

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                         b. Borrower’s Performance. On or before 5:00 pm PST on Tuesday, April 6, 2021,
                            the Borrower shall send the following to the Lender:
                                i. Ten (10) BTC to the Lender’s BTC Wallet

                                         1. The Lender’s BTC Wallet address is:

                                         2.                                                ; and

                                 ii. To reimburse the Lender for the initial taxable event of converting Ethereum
                                     to BTC, the Borrower shall send the Lender 41,443.973913024 Dstem
                                     coins. It is understood and agreed that it is not yet certain which
                                     cryptocurrency wallet will be able to receive the Dstem Coins. Borrower
                                     expressly agrees to block and hold the Lender’s Dstem Coins until such
                                     time as the Dstem Coin wallet is determined and is readily transferrable to
                                     the Lender’s wallet.
                                iii. The Lender shall also have the option to purchase an additional one hundred
                                     thousand (100,000) Dstem Coins at a valuation of two dollars and 50/100
                                     ($2.50) per coin. Lender shall hold this exclusive right until such time as
                                     the Dstem Coin IEO. The Borrower shall provide the Lender with fourteen
                                     (14) days written notice of the Dstem Coin IEO.

                         c. Co-signer. The Co-signer acknowledges, has read, and understands the Agreement
                            and agrees to accept full responsibility for the fulfillment of all the Terms and
                            Conditions of the Agreement, including Section 1(b) and any other amounts due
                            under this Agreement.

                                  i. The Co-signer shall remain responsible for the term of the Agreement.

                                 ii. In exchange for the Co-signer’s agreement to sign on to this Agreement,
                                     Borrower shall send twenty-five thousand (25,000) Dstem Coins to the Co-
                                     signer. It is understood and agreed that it is not yet certain which
                                     cryptocurrency wallet will be able to receive the Dstem Coins. Borrower
                                     expressly agrees to block and hold the Co-signer’s Dstem Coins until such
                                     time as the Dstem Coin wallet is determined and is readily transferrable to
                                     the Co-signer’s wallet.

                         d. Guarantee.

                                  i. Concurrently with its execution and delivery of this Agreement, Borrower
                                     and Co-signer shall deliver to Lender a guarantee from Guarantor in
                                     substantially the form of Schedule 1 attached hereto and made a part hereof.
                                     The Borrower and Co-signer shall personally guarantee all monetary terms
                                     of this Agreement, including any and all penalties that may accrue. The
                                     Guaranty is attached hereto as Schedule 1.

                2. Breach.
                      a. In the event the Borrower fails to perform under the terms of Section 1(b), the
                          Borrower shall be automatically deemed in default.

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                         b. Each day the Borrower remains in default, a twenty percent (20%) interest penalty
                            shall accrue. Said penalty shall be payable in BTC or as otherwise stipulated to by
                            the Lender.

                3. Representations and Warranties. The Borrower warrants and represents to the Lender on
                   the date hereof that this Agreement has been duly and validly authorized, executed and
                   delivered on behalf of the Borrower and constitutes the legal, valid and binding obligations
                   of the Borrower enforceable against the Borrower in accordance with its terms. The
                   Borrower further warrants and represents that all funds are lien-free and of non-criminal
                   and non-terrorist origin.

                4. Remedies. Upon the occurrence and during the continuation of any Event of Default, the
                   Lender may, at its option, (a) declare any outstanding sums hereunder immediately due and
                   payable and/or (b) exercise all other rights and remedies available to the Lender herein,
                   under applicable law against both the Borrower and the Co-signer jointly and severally.
                   The Lender shall have the right to rescind any acceleration in payment of the principal
                   amounts due hereunder for default, as aforesaid, if the Lender so elects, in which event this
                   Agreement shall be construed, interpreted and enforced in the same manner as if the Lender
                   had never elected to declare the unpaid principal balance hereof at once due and payable.

                5. Rights and Remedies Cumulative. No delay or omission by the Lender in exercising any
                   right or remedy herein shall operate as a waiver of the future exercise of that right or
                   remedy or of any other rights or remedies herein. All rights of the Lender stated herein are
                   cumulative and in addition to all other rights provided by law.

                6. Governing Law. This Agreement is governed by the laws of the State of Idaho, and any
                   questions arising hereunder shall be construed or determined in accordance with such law.
                   The venue for any lawsuit filed by either party related to the terms of this agreement shall
                   be located exclusively in the federal courts of the state of Idaho, U.S.A.

                7. Notices. Unless otherwise provided in this Agreement, all notices or demands relating to
                   this Agreement shall be in writing and shall be personally delivered or sent by registered
                   or certified mail (postage prepaid, return receipt requested), overnight courier, electronic
                   mail (at such email addresses as a party may designate in accordance herewith), or
                   telefacsimile, to the respective address set forth below:

                     Borrower:
                     Four SquareBiz, LLC
                     Name: Keith O. Crews, Chairman
                     Address: 3350 Riverwood Pkwy Suite 1900, Atlanta GA 30339
                     Phone : 423-284-7854
                     E-mail : okcrews@4squarebiz.com

                     Borrower
                     Name: Keith O. Crews, Individually
                     Address:                         Kennesaw GA 30152
                     Phone : 423-284-7854
                     E-mail : okcrews@yahoo.com

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                     Lender:
                     Name: Cody J. Schueler
                     Address:                , Coeur d’Alene, Idaho 83814, U.S.A.
                     Phone: +1-406-370-6178
                     E-mail: Cody@puremanagementsolutions.com

                     Co-signer:
                     Name: Micah Eigler
                     Address:                  Encino, Ca 91316
                     Phone: 1-818-939-2057
                     E-mail: Eigler1@gmail.com

                     Any party may change its address by giving any other party written notice of its new
                     address as herein provided.

                8. Attorney Fees and Costs. If either Party commences legal proceedings to interpret or
                   enforce the terms of this Agreement, the prevailing Party will be entitled to recover court
                   costs and reasonable attorney fees.

                9. Modifications. All modifications or amendments to this Agreement shall be effective only
                   when reduced to writing and signed by both parties hereto.

                10. Entire Agreement. This Agreement constitutes the entire Agreement among the parties
                    with respect to the subject matter hereof and supersedes any prior negotiations,
                    understandings and agreements.

                11. Successors and Assigns. This Agreement shall bind and inure to the benefit of the
                    respective successors and assigns of each of the parties; provided, that neither party may
                    assign this Agreement or any rights or duties hereunder without the prior written consent
                    of the other party (such consent to not be unreasonably withheld). Notwithstanding the
                    foregoing, in the event of a change of control of Lender or Borrower, prior written consent
                    shall not be required so such party provides the other party with written notice prior to the
                    consummation of such change of control. For purposes of the foregoing, a “change of
                    control” shall mean a transaction or series of related transactions in which a person or
                    entity, or a group of affiliated (or otherwise related) persons or entities acquires from
                    stockholders of the party shares representing more than fifty percent (50%) of the
                    outstanding voting stock of the such party.

                12. Severability of Provisions. Each provision of this Agreement shall be severable from every
                    other provision of this Agreement for the purpose of determining the legal enforceability
                    of any specific provision.

                13. Counterpart Execution. This Agreement may be executed in any number of counterparts
                    and by different parties on separate counterparts, each of which, when executed and
                    delivered, shall be deemed to be an original, and all of which, when taken together, shall
                    constitute but one and the same Agreement. Delivery of an executed counterpart of this
                    Agreement by telefacsimile, email or other electronic method of transmission shall be

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                     equally as effective as delivery of an original executed counterpart of this Agreement. Any
                     party delivering an executed counterpart of this Agreement by telefacsimile, email or other
                     electronic method of transmission also shall deliver an original executed counterpart of this
                     Agreement but the failure to deliver an original executed counterpart shall not affect the
                     validity, enforceability, and binding effect of this Agreement.

                14. Miscellaneous. Whenever used herein, the singular number shall include the plural, the
                    plural the singular, and the use of the masculine, feminine, or neuter gender shall include
                    all genders.


                      (The remainder of this page is intentionally blank. Signature page(s) to follow.)




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            IN WITNESS WHEREOF, each of the Parties hereto have executed this Agreement as of the date
            and year first written above.
             LENDER                                                 BORROWER:

             Cody J. Schueler                                       Four Squarebiz, LLC




             By: _____________________________                      By: _______________________________
                Cody J. Schueler, Individually                          Keith O. Crews
                                                                        Its: Chairman


                                                                    BORROWER:

                                                                    Keith O. Crews




                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    CO-SIGNER:

                                                                    Micah Eigler




                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             SCHEDULE 1
                                                             GUARANTEE
            KEITH O. CREWS, a (Married) individual ("Borrower"), whose address is
                Kennesaw GA 30152; and MICAH EIGLER, a married individual, whose address is
                         Encino, CA 91316 (“Co-signer”) (collectively “Guarantor”) as material inducement
            to and in consideration of CODY J. SCHUELER, an individual whose mailing address is
                        , Coeur d’Alene, Idaho 83814, U.S.A. (“Lender”) entering into a BITCOIN LOAN
            AGREEMENT ("Agreement"), dated as of March 27, 2021, pursuant to which Lender lent five
            (5) Bitcoins to the Borrower, unconditionally and absolutely guarantees and promises, to and for
            the benefit of Lender, its successors and assigns, that Guarantor shall perform the provisions of
            the Agreement including, but not limited to, payment of all sums, charges, costs and expenses
            payable by Borrower and Co-Signer, its successors and assigns, under the Agreement and the full
            performance and observance of all of the covenants, terms, conditions and agreements therein
            provided to be performed and observed by Borrower and Co-signer, as well as any successors and
            assigns.
            If Guarantor is more than one person, Guarantors' obligations are joint and several and are
            independent of Party's obligations under the Agreement and shall not be discharged except by
            payment to and receipt by Lender of all sums due under the Agreement. A separate action may be
            brought or prosecuted against any Guarantor whether the action is brought or prosecuted against
            any other Guarantor or Borrower, or all, or whether any other Guarantor or Borrower, or all, are
            joined in the action.
            Guarantor waives the benefit of any statute of limitations affecting Guarantor's liability under this
            Guarantee.
            The provisions of the Agreement may be changed by agreement between Lender and Borrower,
            or their respective successors or assigns, at any time, or by course of conduct, without the consent
            of or without notice to Guarantor, including, without limitation, the obligations of Borrower, the
            term of the Agreement or the time for performance of any obligation thereunder, or the re-
            Agreement, compromise or settlement of any Agreement obligations. This Guarantee shall
            guarantee the performance of the Agreement as changed. Assignment of the Agreement (as
            permitted by the Agreement) shall not affect this Guarantee.
            This Guarantee shall not be affected by Lender's failure or delay in enforcing any of its rights.
            If Borrower defaults under the Agreement, Lender may proceed immediately against Guarantor or
            Borrower, or both, without prior notice to Guarantor, or Lender may enforce against Guarantor or
            Borrower, or both, any rights that it has under the Agreement or pursuant to applicable laws. If the
            Agreement terminates and Lender has any rights it may enforce against Borrower after
            termination, Lender may enforce those rights against Guarantor without giving previous notice to
            Borrower or Guarantor, or without making any demand on either of them. This Guarantee is a
            guarantee of payment and not of collection.
            Guarantor waives the right to require Lender to (1) proceed against Borrower; (2) proceed against
            or exhaust any security that Lender holds from Borrower; or (3) pursue any other remedy in
            Lender's power. Guarantor waives any defense by reason of any disability of Borrower, including
            but not limited to any limitation on the liability or obligation of Borrower under the Agreement or

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            its estate in bankruptcy or of any remedy for the enforcement thereof, resulting from the operation
            of any present or future provision of the National Bankruptcy Act or other statute, or from the
            decision of any court, and waives any other defense based on the termination of Borrower's liability
            from any cause whatsoever. Until all of Borrower's obligations to Lender have been discharged in
            full, Guarantor has no right of subrogation against Borrower. Guarantor waives their right to
            enforce any remedies that Lender now has, or later may have against Borrower. Guarantor waives
            any right to participate in any security now or later held by Lender. Guarantor waives all
            presentments, demands for performance, notices of nonperformance, protests, notices of protest,
            notices of dishonor and notices of acceptance of this Guarantee, and waives all notices of the
            existence, creation or incurring of new or additional obligations.
            This Guarantee shall continue to be effective, or be reinstated, as the case may be, if at any time
            any whole or partial payment or performance of any obligation under the Agreement is or is sought
            to be rescinded or must otherwise be restored or returned by Lender upon the insolvency or
            bankruptcy of Borrower, or upon or as a result of the appointment of a receiver, intervenor or
            conservator of, or trustee or similar officer for Borrower or any substantial part of Borrower's
            property, or otherwise, all as though such payments and performance had not been made.
            If Lender disposes of its interest in the Agreement, "Lender", as used in this Guarantee, shall mean
            Lender's successors.
            If Lender is required to enforce Guarantor's obligations by legal proceedings, Guarantor shall pay
            to Lender all costs incurred, including, without limitation, reasonable attorneys' fees. Guarantor
            hereby waives trial by jury in any such legal proceedings.
            If any term or provision of this Guarantee, or the application thereof to any person or circumstance,
            shall, to any extent, be invalid or unenforceable, the remainder of this Guarantee, or the application
            of such term or provision to persons or circumstances other than those as to which it is held invalid
            or unenforceable, shall not be affected thereby, and each term and provision of this Guarantee shall
            be valid and be enforced to the fullest extent permitted by law.
            No waiver by Lender of any provision or right hereunder shall be implied from any omission by
            Lender to take any action on account of Lender's right under such provision. Any express waiver
            by Lender of any provision or right hereunder shall not act as a waiver of any provision or right
            elsewhere contained herein, and shall only act as a waiver as specifically expressed in said waiver,
            and only for the time and to the extent therein stated. One or more waivers by Lender shall not be
            construed as a waiver of a subsequent breach of the same provision or right.
            The rights and remedies given to Lender by this Guarantee shall be deemed to be cumulative and
            not one of such rights and remedies shall be exclusive at law or in equity of the rights and remedies
            which Lender might otherwise have by virtue of a default under this Guarantee, and the exercise
            of one such right or remedy by Lender shall not impair Lender's standing to exercise any other
            rights or remedies.
            All the terms, provisions and agreements of this Guarantee shall be construed liberally in favor of
            Lender, shall inure to the benefit of and be enforceable by Lender, its successors and assigns, and
            shall be binding upon Guarantor, and his executors, representatives, administrators and assigns. In
            the event of the death of the Guarantor, the obligation of the deceased Guarantor under this
            Guarantee shall continue in full force and effect with respect to estate of such deceased Guarantor.

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            This Guarantee shall be governed by and construed in accordance with the laws of the State of
            Idaho.


                                                                    GUARANTOR:

                                                                    Keith O. Crews




                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    GUARANTOR:

                                                                    Micah Eigler




                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             EXHIBIT A


                                                             (Attachments)




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                                               BITCOIN LOAN AGREEMENT

            THIS BITCOIN LOAN AGREEMENT (the “Agreement”) is made this _______          26th    day of April,
            2021 (the “Effective Date”) by and between Four SquareBiz, LLC, a Wyoming limited liability
            company with a registered address at 3350 Riverwood Pkwy Suite 1900, Atlanta, GA 30339; Keith
            O. Crews, an individual residing at                            , Kennesaw, GA 30152 (collectively,
            the “Borrower”); Micah Eigler, and individual residing at                    , Encino, CA 91316,
            (the “Co-signer”); and Cody J. Schueler, an individual with a mailing address at
                , Coeur d’Alene, Idaho 83814 (the “Lender”). The Borrower, Co-Signor, and Lender may be
            referred to herein individually as “Party” or collectively as “Parties.”

                                                             RECITALS

            WHEREAS, the Lender has agreed to loan the Borrower three hundred sixty-three thousand
            dollars ($363,000.00) to be paid in Bitcoins (“BTC”) for the Borrower to pay for the Funds
            Transfer Clearance Code (“FTCC”) to transfer two hundred thirty million dollars
            ($230,000,000.00). Attached hereto and incorporated herein as Exhibit A is a true and accurate
            copy of the FTCC payment request from TrustFunds Private Bank;

            WHEREAS, in exchange for the Lender transferring BTC to the Borrower, the Borrower will
            repay the Lender: seven hundred twenty-six thousand dollars ($726,000.00) to be paid in BTC
            (including any penalties or fees incurred);

            WHEREAS, to secure the Lender’s interest in the loaned funds, the Borrower and the Co-signer
            agree to personally guaranty the loan and all sums due and owing to the Lender;

            WHEREAS, in consideration for Co-signer agreeing to secure the loan, Borrower agrees to
            compensate the Co-signer; and

            WHEREAS, the Borrower and Co-signer shall be jointly and severally liable for all sums dues and
            owing to the Lender;

                    NOW, THEREFORE, in consideration of the foregoing and other good and valuable
            consideration, the receipt and sufficiency of which is hereby acknowledged, including without
            limitation, the mutual consent of the Parties hereto, the Borrower, Co-signer, and Lender the
            Parties, intending to be legally bound, hereby agree as follows:

                1. Terms and Conditions.
                      a. Lender’s Performance. Upon dual execution of this Agreement, the Lender shall
                         loan three hundred sixty-three thousand dollars ($363,000.00) in BTC to the
                         Borrower. The Lender shall effectuate said loan by the funds directly to the
                         Borrower’s BTC wallet.

                                  i. The Borrower’s BTC Wallet address is:

                                                                        ________________



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                         b. Borrower’s Performance. On or before 5:00 pm PST on Friday, April 30, 2021, the
                            Borrower shall send the following to the Lender:
                                i. Seven hundred twenty-six thousand dollars ($726,000.00), paid in BTC, to
                                   the Lender’s BTC Wallet

                                         1. The Lender’s BTC Wallet address is:

                                         2.                                                ; and

                                 ii. To reimburse the Lender for the initial taxable event of converting Ethereum
                                     to BTC, the Borrower shall send the Lender 50,000 Dstem coins. It is
                                     understood and agreed that it is not yet certain which cryptocurrency wallet
                                     will be able to receive the Dstem Coins. Borrower expressly agrees to block
                                     and hold the Lender’s Dstem Coins until such time as the Dstem Coin wallet
                                     is determined and is readily transferrable to the Lender’s wallet.
                                iii. The Lender shall also have the option to purchase an additional one hundred
                                     thousand (100,000) Dstem Coins at a valuation of two dollars and 50/100
                                     ($2.50) per coin. Lender shall hold this exclusive right until such time as
                                     the Dstem Coin IEO. The Borrower shall provide the Lender with fourteen
                                     (14) days written notice of the Dstem Coin IEO. Failure to notify the Lender
                                     of the IEO shall result in the Borrower forfeiting one hundred thousand
                                     (100,000) Dstem Coins to the Lender.

                         c. Co-signer. The Co-signer acknowledges, has read, and understands the Agreement
                            and agrees to accept full responsibility for the fulfillment of all the Terms and
                            Conditions of the Agreement, including Section 1(b) and any other amounts due
                            under this Agreement.

                                  i. The Co-signer shall remain responsible for the term of the Agreement.

                         d. Guarantee.

                                  i. Concurrently with its execution and delivery of this Agreement, Borrower
                                     and Co-signer shall deliver to Lender a guarantee from Guarantor in
                                     substantially the form of Schedule 1 attached hereto and made a part hereof.
                                     The Borrower and Co-signer shall personally guarantee all monetary terms
                                     of this Agreement, including any and all penalties that may accrue. The
                                     Guaranty is attached hereto as Schedule 1.

                2. Breach.
                      a. In the event the Borrower fails to perform under the terms of Section 1(b), the
                          Borrower shall be automatically deemed in default. No notice is required.
                      b. Each day the Borrower remains in default, a twenty percent (20%) interest penalty
                          shall accrue on a daily basis. Said penalty shall be payable in BTC or as otherwise
                          stipulated to by the Lender.

                3. Representations and Warranties. The Borrower warrants and represents to the Lender on
                   the date hereof that this Agreement has been duly and validly authorized, executed and

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                     delivered on behalf of the Borrower and constitutes the legal, valid and binding obligations
                     of the Borrower enforceable against the Borrower in accordance with its terms. The
                     Borrower further warrants and represents that all funds are lien-free and of non-criminal
                     and non-terrorist origin.

                4. Remedies. Upon the occurrence and during the continuation of any Event of Default, the
                   Lender may, at its option, (a) declare any outstanding sums hereunder immediately due and
                   payable and/or (b) exercise all other rights and remedies available to the Lender herein,
                   under applicable law against both the Borrower and the Co-signer jointly and severally.
                   The Lender shall have the right to rescind any acceleration in payment of the principal
                   amounts due hereunder for default, as aforesaid, if the Lender so elects, in which event this
                   Agreement shall be construed, interpreted and enforced in the same manner as if the Lender
                   had never elected to declare the unpaid principal balance hereof at once due and payable.

                5. Rights and Remedies Cumulative. No delay or omission by the Lender in exercising any
                   right or remedy herein shall operate as a waiver of the future exercise of that right or
                   remedy or of any other rights or remedies herein. All rights of the Lender stated herein are
                   cumulative and in addition to all other rights provided by law.

                6. Governing Law. This Agreement is governed by the laws of the State of Idaho, and any
                   questions arising hereunder shall be construed or determined in accordance with such law.
                   The venue for any lawsuit filed by either party related to the terms of this agreement shall
                   be located exclusively in the federal courts of the state of Idaho, U.S.A.

                7. Notices. Unless otherwise provided in this Agreement, all notices or demands relating to
                   this Agreement shall be in writing and shall be personally delivered or sent by registered
                   or certified mail (postage prepaid, return receipt requested), overnight courier, electronic
                   mail (at such email addresses as a party may designate in accordance herewith), or
                   telefacsimile, to the respective address set forth below:

                     Borrower:
                     Four SquareBiz, LLC
                     Name: Keith O. Crews, Chairman
                     Address: 3350 Riverwood Pkwy Suite 1900, Atlanta, GA 30339
                     Phone: 423-284-7854
                     E-mail: okcrews@4squarebiz.com

                     Borrower:
                     Name: Keith O. Crews, Individually
                     Address:                         ., Kennesaw, GA 30152
                     Phone: 423-284-7854
                     E-mail: okcrews@yahoo.com

                     Lender:
                     Name: Cody J. Schueler
                     Address:                , Coeur d’Alene, Idaho 83814, U.S.A.
                     Phone: +1-406-370-6178
                     E-mail: Cody@puremanagementsolutions.com

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                     Co-signer:
                     Name: Micah Eigler
                     Address:                 , Encino, CA 91316
                     Phone: 1-818-939-2057
                     E-mail: Eigler1@gmail.com

                     Any party may change its address by giving any other party written notice of its new
                     address as herein provided.

                8. Attorney Fees and Costs. If either Party commences legal proceedings to interpret or
                   enforce the terms of this Agreement, the prevailing Party will be entitled to recover court
                   costs and reasonable attorney fees.

                9. Modifications. All modifications or amendments to this Agreement shall be effective only
                   when reduced to writing and signed by both parties hereto.

                10. Entire Agreement. This Agreement constitutes the entire Agreement among the parties
                    with respect to the subject matter hereof and supersedes any prior negotiations,
                    understandings and agreements.

                11. Successors and Assigns. This Agreement shall bind and inure to the benefit of the
                    respective successors and assigns of each of the parties; provided, that neither party may
                    assign this Agreement or any rights or duties hereunder without the prior written consent
                    of the other party (such consent to not be unreasonably withheld). Notwithstanding the
                    foregoing, in the event of a change of control of Lender or Borrower, prior written consent
                    shall not be required so such party provides the other party with written notice prior to the
                    consummation of such change of control. For purposes of the foregoing, a “change of
                    control” shall mean a transaction or series of related transactions in which a person or
                    entity, or a group of affiliated (or otherwise related) persons or entities acquires from
                    stockholders of the party shares representing more than fifty percent (50%) of the
                    outstanding voting stock of the such party.

                12. Severability of Provisions. Each provision of this Agreement shall be severable from every
                    other provision of this Agreement for the purpose of determining the legal enforceability
                    of any specific provision.

                13. Counterpart Execution. This Agreement may be executed in any number of counterparts
                    and by different parties on separate counterparts, each of which, when executed and
                    delivered, shall be deemed to be an original, and all of which, when taken together, shall
                    constitute but one and the same Agreement. Delivery of an executed counterpart of this
                    Agreement by telefacsimile, email or other electronic method of transmission shall be
                    equally as effective as delivery of an original executed counterpart of this Agreement. Any
                    party delivering an executed counterpart of this Agreement by telefacsimile, email or other
                    electronic method of transmission also shall deliver an original executed counterpart of this
                    Agreement but the failure to deliver an original executed counterpart shall not affect the
                    validity, enforceability, and binding effect of this Agreement.


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                14. Miscellaneous. Whenever used herein, the singular number shall include the plural, the
                    plural the singular, and the use of the masculine, feminine, or neuter gender shall include
                    all genders.


                      (The remainder of this page is intentionally blank. Signature page(s) to follow.)




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            IN WITNESS WHEREOF, each of the Parties hereto have executed this Agreement as of the date
            and year first written above.
             LENDER                                                 BORROWER:

             Cody J. Schueler                                       Four Squarebiz, LLC




                                         4/26/2021                                        4/26/2021
             By: _____________________________                      By: _______________________________
                Cody J. Schueler, Individually                          Keith O. Crews
                                                                        Its: Chairman


                                                                    BORROWER:

                                                                    Keith O. Crews




                                                                                          4/26/2021
                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    CO-SIGNER:

                                                                    Micah Eigler




                                                                                           4/26/2021
                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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                                                             SCHEDULE 1
                                                             GUARANTEE
            KEITH O. CREWS, a married individual ("Borrower"), whose address is
               , Kennesaw, GA 30152 and MICAH EIGLER, a married individual, whose address is
                          , Encino, CA 91316 (“Co-signer”) (collectively “Guarantor”) as material inducement
            to and in consideration of CODY J. SCHUELER, an individual whose mailing address is
                        ., Coeur d’Alene, Idaho 83814, U.S.A. (“Lender”) entering into a BITCOIN LOAN
            AGREEMENT ("Agreement"), dated as of April ______,  26th     2021, pursuant to which Lender lent
            three hundred sixty-three thousand dollars ($363,000.00) in Bitcoin to the Borrower,
            unconditionally and absolutely guarantees and promises, to and for the benefit of Lender, its
            successors and assigns, that Guarantor shall perform the provisions of the Agreement including,
            but not limited to, payment of all sums, charges, costs and expenses payable by Borrower and Co-
            Signer, its successors and assigns, under the Agreement and the full performance and observance
            of all of the covenants, terms, conditions and agreements therein provided to be performed and
            observed by Borrower and Co-signer, as well as any successors and assigns.
            If Guarantor is more than one person, Guarantors' obligations are joint and several and are
            independent of Party's obligations under the Agreement and shall not be discharged except by
            payment to and receipt by Lender of all sums due under the Agreement. A separate action may be
            brought or prosecuted against any Guarantor whether the action is brought or prosecuted against
            any other Guarantor or Borrower, or all, or whether any other Guarantor or Borrower, or all, are
            joined in the action.
            Guarantor waives the benefit of any statute of limitations affecting Guarantor's liability under this
            Guarantee.
            The provisions of the Agreement may be changed by agreement between Lender and Borrower,
            or their respective successors or assigns, at any time, or by course of conduct, without the consent
            of or without notice to Guarantor, including, without limitation, the obligations of Borrower, the
            term of the Agreement or the time for performance of any obligation thereunder, or the re-
            Agreement, compromise or settlement of any Agreement obligations. This Guarantee shall
            guarantee the performance of the Agreement as changed. Assignment of the Agreement (as
            permitted by the Agreement) shall not affect this Guarantee.
            This Guarantee shall not be affected by Lender's failure or delay in enforcing any of its rights.
            If Borrower defaults under the Agreement, Lender may proceed immediately against Guarantor or
            Borrower, or both, without prior notice to Guarantor, or Lender may enforce against Guarantor or
            Borrower, or both, any rights that it has under the Agreement or pursuant to applicable laws. If the
            Agreement terminates and Lender has any rights it may enforce against Borrower after
            termination, Lender may enforce those rights against Guarantor without giving previous notice to
            Borrower or Guarantor, or without making any demand on either of them. This Guarantee is a
            guarantee of payment and not of collection.
            Guarantor waives the right to require Lender to (1) proceed against Borrower; (2) proceed against
            or exhaust any security that Lender holds from Borrower; or (3) pursue any other remedy in
            Lender's power. Guarantor waives any defense by reason of any disability of Borrower, including
            but not limited to any limitation on the liability or obligation of Borrower under the Agreement or

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            its estate in bankruptcy or of any remedy for the enforcement thereof, resulting from the operation
            of any present or future provision of the National Bankruptcy Act or other statute, or from the
            decision of any court, and waives any other defense based on the termination of Borrower's liability
            from any cause whatsoever. Until all of Borrower's obligations to Lender have been discharged in
            full, Guarantor has no right of subrogation against Borrower. Guarantor waives their right to
            enforce any remedies that Lender now has, or later may have against Borrower. Guarantor waives
            any right to participate in any security now or later held by Lender. Guarantor waives all
            presentments, demands for performance, notices of nonperformance, protests, notices of protest,
            notices of dishonor and notices of acceptance of this Guarantee, and waives all notices of the
            existence, creation or incurring of new or additional obligations.
            This Guarantee shall continue to be effective, or be reinstated, as the case may be, if at any time
            any whole or partial payment or performance of any obligation under the Agreement is or is sought
            to be rescinded or must otherwise be restored or returned by Lender upon the insolvency or
            bankruptcy of Borrower, or upon or as a result of the appointment of a receiver, intervenor or
            conservator of, or trustee or similar officer for Borrower or any substantial part of Borrower's
            property, or otherwise, all as though such payments and performance had not been made.
            If Lender disposes of its interest in the Agreement, "Lender", as used in this Guarantee, shall mean
            Lender's successors.
            If Lender is required to enforce Guarantor's obligations by legal proceedings, Guarantor shall pay
            to Lender all costs incurred, including, without limitation, reasonable attorneys' fees. Guarantor
            hereby waives trial by jury in any such legal proceedings.
            If any term or provision of this Guarantee, or the application thereof to any person or circumstance,
            shall, to any extent, be invalid or unenforceable, the remainder of this Guarantee, or the application
            of such term or provision to persons or circumstances other than those as to which it is held invalid
            or unenforceable, shall not be affected thereby, and each term and provision of this Guarantee shall
            be valid and be enforced to the fullest extent permitted by law.
            No waiver by Lender of any provision or right hereunder shall be implied from any omission by
            Lender to take any action on account of Lender's right under such provision. Any express waiver
            by Lender of any provision or right hereunder shall not act as a waiver of any provision or right
            elsewhere contained herein, and shall only act as a waiver as specifically expressed in said waiver,
            and only for the time and to the extent therein stated. One or more waivers by Lender shall not be
            construed as a waiver of a subsequent breach of the same provision or right.
            The rights and remedies given to Lender by this Guarantee shall be deemed to be cumulative and
            not one of such rights and remedies shall be exclusive at law or in equity of the rights and remedies
            which Lender might otherwise have by virtue of a default under this Guarantee, and the exercise
            of one such right or remedy by Lender shall not impair Lender's standing to exercise any other
            rights or remedies.
            All the terms, provisions and agreements of this Guarantee shall be construed liberally in favor of
            Lender, shall inure to the benefit of and be enforceable by Lender, its successors and assigns, and
            shall be binding upon Guarantor, and his executors, representatives, administrators and assigns. In
            the event of the death of the Guarantor, the obligation of the deceased Guarantor under this
            Guarantee shall continue in full force and effect with respect to estate of such deceased Guarantor.

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            This Guarantee shall be governed by and construed in accordance with the laws of the State of
            Idaho.


                                                                    GUARANTOR:

                                                                    Keith O. Crews




                                                                                          4/26/2021
                                                                    By: _______________________________
                                                                        Keith O. Crews, Individually


                                                                    GUARANTOR:

                                                                    Micah Eigler




                                                                                          4/26/2021
                                                                    By: _______________________________
                                                                        Micah Eigler, Individually




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DocuSign Envelope ID: 547ADEE6-96DE-440E-84D7-B6C3D8A17488
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                                                             EXHIBIT A


                                                             (Attachments)




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                      2C0CB175-2494-4D27-BB77-A9F4E670619B
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            Dear Keith Crews,

            Thank you for choosing Trust Funds Private Bank. Find below your
            Digital Investment account information.

            ACCOUNT NAME: Keith Crews
            ACCOUNT NUMBER:
            ACCOUNT TYPE: Digital Investment
            TRANSACTION NUMBER: 00126

            Your Transfer request of $230,000,000.00 is being processed.
            Kindly proceed to pay your Funds Transfer Clearance Code (FTCC)
            to complete your withdrawal.

            BENEFICIARY'S INFORMATION.

            BANK NAME: Ghana International Bank PLC
            ACCOUNT NAME: Mega Bank Gambia Ltd
            ACCOUNT NUMBER:
            ROUTING NUMBER: 60-92-63
            IBAN:

            Your Funds are currently processing and as soon as the FTC code
            is obtained your funds will be deposited in the beneficiary’s
            account.

            Your FTC code will be given to you after all necessary FTC
            payments have been paid.

            ================================================================
            Your transfer request of $230,000,000.00 incurred a total of
            $362,965.56 as FTCC
            ================================================================
            Kindly Make FTCC payment below.

            BITCOIN WALLET:
            Amount: 362,965.56 USD

            For further inquiries on our Internet Banking facilities, send
            an email to info@trustfundsprivatebank.com


            Thank you for banking with us,
            Internet Banking Operations
            TrustFunds Private Bank
